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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

JAMES FICKEN, Trustee, Suncoast First
Trust and SUNCOAST FIRST TRUST,

       Plaintiffs,

v.                                                           Case No: 8:19-cv-1210-T-36SPF

CITY OF DUNEDIN, FLORIDA, DUNEDIN
CODE ENFORCEMENT BOARD, MICHAEL
BOWMAN, in his official capacity as Code
Enforcement Board Chairman, LOWELL
SUPLICKI, in his official capacity as Code
Enforcement Board Vice-Chair, ARLENE
GRAHAM, in her official capacity as a
member of the Code Enforcement Board,
KEN CARSON, in his official capacity as a
member of the Code Enforcement Board,
WILLIAM MOTLEY, in his official capacity as
a member of the Code Enforcement Board,
DAVE PAULEY, in his official capacity as a
member of the Code Enforcement Board, and
BUNNY DUTTON, in her official capacity as a
member of the Code Enforcement Board,

       Defendants.

_________________________________/

                            SUMMARY JUDGMENT NOTICE

To All Parties:

       A motion for summary judgment pursuant to Rule 56, Federal Rules of Civil

Procedure, has been filed in this case (Docs. 42, 43). Unless the Court notifies the parties

otherwise, there will not be a hearing on this motion; instead, the Court will decide the

motion on the basis of the motion, responses, briefs or legal memoranda, and evidentiary

materials filed by the parties. Unless otherwise specifically ordered by the Court, any

response to this motion, as well as all supporting evidentiary materials (counter-affidavits,
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depositions, exhibits, etc.) must be filed with the Clerk of this Court within fourteen (14)

days of service of the motion for summary judgment, unless otherwise ordered by

the Court. The Court will consider this motion and take the motion under advisement

thirty (30) days after the motion is filed.

       The following explanatory admonitions are included here for the benefit of pro se

parties (i.e., parties not represented by an attorney) who oppose the summary judgment

motion. In addition to the above paragraph, you are also advised that, if the Court

grants this motion for summary judgment, such would be a final decision of the Court in

favor of the party filing the motion (“movant’). As a result of such final decision, there

would be no trial or other proceedings in this case, and you would likely be precluded

from later litigating this matter or any related matters. Therefore, you are hereby further

advised: (1) failing to respond to this motion will indicate that the motion is not opposed;

(2) all material facts asserted by the movant in the motion will be considered to be

admitted by you unless controverted by proper evidentiary materials (counter-affidavits,

depositions, exhibits, etc.) filed by you; and (3) you may not rely solely on the allegations

of the issue pleadings (e.g., complaint, answer, etc.) in opposing the motion. See Griffith

v Wainwright, 772 F.2d 822, 825 (11th Cir. 1985).



                                                         FOR THE COURT:

                                                         s/  Bettye Samuel
                                                         Deputy Clerk

Dated: April 13, 2020

Copies: All Parties of Record




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